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MN IN THE UNITED STATES DISTRICT COURT 9 pn eo
NORTHERN DISTRICT OF TEXAS ' : -
DALLAS DIVISION REL

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DOUGLAS E. BROOKS LancyfOOH
- By ot
Plaintiff, wo Ip ee!
Vv. : CIVIL ACTION
> NO. 396-CV3234-G

AcroMed Corporation, Charter No. 614043; AcroMed Corp. : ac ENTERED ON Bountl
(Now AcroMed Corporation, Charter No. 614043); AcroMed : pec eT 1S punsu: ANT
Corporation Charter No. 816942; AcroMed Inc., Charter : TO F.R.C. Ps RULES
No. 811415; AcroMed Incorporated, (Now AcroMed Inc., : 58 AND 792.

Charter No. 811415); AcroMed Incorporated, Charter No.
816943; AcroMed Holding Corporation, Charter No. 811416;
AcroMed Corporation (Now AcroMed Holding Corporation,
Charter No. 811416,

STAY ORDER

On this 30 day of QDecenler , 1996 having been presented

with Plaintiffs’ Motion for Order Imposing Stay and Pretrial Order No. 655 in MDL Docket
1014 which stays all proceedings against AcroMed, the Court orders that the above
captioned case is subject to the stay order and that this lawsuit be stayed in conformance

with Pretrial Order No. 655 until further notice.

UNITED es : ES DISTRICT JUDGE

SO ORDERED:
